         Case
      Case    14-60041Document
           14-60042     Document 756 Filed
                               12-2  Filedin
                                           inTXSB
                                             TXSBon
                                                  on 11/16/2015
                                                     12/16/15 Page 1 of 11 of 1
                                                                 Page



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION                                                      ENTERED
                                                                                                            12/17/2015
IN RE:                                                      §            Chapter 11
                                                            §
BUCCANEER RESOURCES, LLC, et al.                            §            Case No. 14-60041 (DRJ)
                                                            §
           DEBTORS.                                         §            Jointly Administered
                                                            §


                                 ORDER ON CURTIS BURTON’S
                            MOTION TO WITHDRAW PROOF OF CLAIM
                                                   (Docket No. 745)
           On this date, the Court considered the Motion to Withdraw Proof of Claim [Dkt. No. 745
                                                                                              __]

(the “Motion”)1 filed by Curtis Burton (“Burton”). The Court having found that the Motion is

meritorious and should be granted, it is hereby:

           ORDERED that the Motion is GRANTED, and pursuant to Rule 3006 of the Federal Rules

of Bankruptcy Procedure, Burton may withdraw Proof of Claim No. 19 filed in Case No. 14-60042

against Buccaneer Energy Limited in its entirety, including all prior and amended versions. It is

further

           ORDERED that this Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.


SIGNED this __ day of ______________ 2015
     Signed: December 16, 2015.

                                                                ____________________________________
                                                                DAVID R. JONES
                                                            David R. Jones, Chief U.S. Bankruptcy Judge
                                                             UNITED STATES BANKRUPTCY JUDGE




1
    Capitalized terms used but not defined herein have the meanings assigned to such terms in the Motion.
